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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CENTER FOR IMMIGRATION STUDIES,

              Plaintiff,

v.                                                  Case No. 1:19-cv-00087-ABJ

RICHARD COHEN and HEIDI BEIRICH,

               Defendants.



                     DECLARATION OF CHAD R. BOWMAN
             IN SUPPORT OF DEFENDANTS’ MOTION FOR SANCTIONS

I, Chad R. Bowman, declare as follows,

       1.     I am a partner in the Washington, D.C. office of Ballard Spahr LLP. I am one of

the attorneys representing Defendants Richard Cohen and Heidi Beirich, both of the Southern

Poverty Law Center (“SPLC”) (together, “Defendants”), in this matter. I submit this declaration

to put before the Court certain information and documents relevant to the Defendants’ Motion

for Sanctions under Rule 11(c)(2) of the Federal Rules of Civil Procedure.

       2.     Defendants filed a motion to dismiss in this case on February 12, 2019. See Dkt.

No. 11. Briefing on that motion is now complete.

       3.     On February 21, 2019, Defendants formally requested that the Plaintiff, the

Center for Immigration Studies (“CIS”), withdraw its meritless claims under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”). Pursuant to the “safe harbor provision” of

Rule 11, Swanson v. Howard Univ., 249 F. Supp. 3d 259, 266 (D.D.C. 2017), I served that
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request by First-Class mail and attached a draft motion under Rule 11. Attached hereto as

Exhibit A is a true and correct copy of that correspondence.

       4.      Following the completion of briefing on the motion to dismiss, counsel for CIS on

March 11, 2019 responded to the February 21, 2019 safe harbor correspondence. Attached

hereto as Exhibit B is a true and correct copy of that response.

       5.      On March 14, 2019, Defendants reiterated their view that the briefing has

demonstrated that the RICO claims asserted in the Complaint lack any colorable basis in law,

and repeated their request that the Complaint be withdrawn. Attached hereto as Exhibit C is a

true and correct copy of that correspondence.

       6.      More than 21 days, plus three days for mail service, has now passed since the

February 21, 2019 safe harbor correspondence was served. As of this filing, CIS has not

withdrawn the Complaint.


       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

       Executed this 19th day of March 2019 in Washington, D.C.



                                                               /s/ Chad R. Bowman
                                                               Chad R. Bowman




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                Exhibit A
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                 Exhibit B
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                 Exhibit C
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                                                                             Chad R. Bowman
                                                                             Tel: 202.508.1120
                                                                             Fax: 202.661.2299
                                                                             bowmanchad@ballardspahr.com

                                                                             Dana R. Green
                                                                             Tel: 202.508.1108
                                                                             Fax: 202.661.2299
                                                                             greendana@ballardspahr.com



March 14, 2019

Via E-Mail

Howard W. Foster
FOSTER PC
150 N. Wacker Drive, Suite 2150
Chicago, IL 60606
Email: hfoster@fosterpc.com


       Re:       CENTER FOR IMMIGRATION STUDIES v. COHEN et al
                 Case No. 1:19-cv-00087-ABJ (D.D.C.)

Dear Mr. Foster:

We are in receipt of your correspondence in the referenced case dated March 11, 2019. Please
be advised that our view is that briefing on the motion to dismiss by the Southern Poverty Law
Center (SPLC) has only underscored that there is no legal basis for the RICO claim in this action.
SPLC therefore respectfully reserves the right to file a sanctions motion pursuant to Rule
11(c)(2) of the Federal Rules of Civil Procedure if the Complaint is not timely withdrawn.

                                                 Regards,



                                                 Chad R. Bowman
                                                 Dana R. Green


cc:    G. Robert Blakey (Blakey.1@nd.edu)
       Julie B. Axelrod (jba@cis.org)
       Matthew Galin (mgalin@fosterpc.com)
